Case 1:19-cv-06570-PKC-MMH Document 81-3 Filed 08/25/22 Page 1 of 9 PageID #: 1137




                            Exhibit C
    Case 1:19-cv-06570-PKC-MMH
10/1/2019   Source: Leaked Documents Show the Document
                                              U.S. Government81-3
                                                              Tracking Filed    08/25/22
                                                                       Journalists              Page
                                                                                   and Immigration      2 ofThrough
                                                                                                   Advocates  9 PageID
                                                                                                                    a Secret #: 1138- N ..
                                                                                                                             Database




                                                                                                                                     (!~ PRIINTTHIS
       ~SAN DIEGO                                                                                                                    Powered by    ; j~lickability



  Source: Leaked Documents Show the U.S. Government Tracking
  Journalists and Immigration Advocates Through a Secret Database

  The documents detail an intelligence-gathering effort by the United
  States and Mexican authorities, targeting more than 50 people
  including journalists, an attorney, and immigration advocates
  By Tom Jones, Mari PaY.ton and Bill Feather

   Published Mar 6, 2019 at 3:57 PM I Updated at 9:26 AM PST on Mar 8, 2019

  The U.S. government created a secret database of activists, journalists, and social media influencers tied to the
  migrant caravan. NBC 7's Mari Payton has more. (Published Wednesday, March 6, 2019)

  This story has been updated with a new statement from Customs and Border Protection and a response from the
  ACLU

  Documents obtained by NBC 7 Investigates show the U.S. government created a secret database of activists,
  journalists, and social media influencers tied to the migrant caravan and in some cases, placed alerts on their
  passports.

  At the end of 2018, roughly 5,000 immigrants from Central America made their way north through Mexico to
  the United States southern border. The story made international headlines.

  As the migrant caravan reached the San Ysidro Port of Entry in south San Diego County, so did journalists,
  attorneys, and advocates who were there to work and witness the events unfolding.

  But in the months that followed, journalists who covered the caravan, as well as those who offered assistance to
  caravan members, said they felt they had become targets of intense inspections and scrutiny by border officials.

  One photojournalist said she was pulled into secondary inspections three times and asked questions about who
  she saw and photographed in Tijuana shelters. Another photojournalist said she spent 13 hours detained by
  Mexican authorities when she tried to cross the border into Mexico City. Eventually, she was denied entry into
  Mexico and sent back to the U.S.

  These American photojournalists and attorneys said they suspected the U.S. government was monitoring them
  closely but until now, they couldn't prove it.

  Now, documents leaked to NBC 7 Investigates show their fears weren't baseless. In fact, their own government
  had listed their names in a secret database of targets, where agents collected information on them. Some had
  alerts placed on their passports, keeping at least two photojournalists and an attorney from entering Mexico to
  work.

  The documents were provided to NBC 7 by a Homeland Security source on the condition of anonymity, given
  the sensitive nature of what they were divulging.


www.pri ntth is .clickabil ity. com/pt/cpt?expire=&action=cpt&pa rtnerl D =523 787 &fb= Y &title= Sou rceo/o 3A +Leaked+Docu ments+Show+the+ U.S.+ Govern me. . .   1/8


                                                                                                                                           ACLU_Guan_00000515
    Case
10/1/2019   1:19-cv-06570-PKC-MMH                Document
               Source: Leaked Documents Show the U.S. Government81-3
                                                                Tracking Filed    08/25/22
                                                                         Journalists              Page
                                                                                     and Immigration      3 ofThrough
                                                                                                     Advocates  9 PageID
                                                                                                                      a Secret #: 1139- N . ..
                                                                                                                               Database

                                                              The source said the documents or screenshots show a
     RELATED STORIES                                          SharePoint application that was used by agents from Customs
                                                              and Border Protection (CBP) Immigration and Customs
                          Leaked Documents                    Enforcement (ICE), the U.S. Border Patrol, Homeland Security
                          Show the Government                 Investigations and some agents from the San D iego sector of
                          Tracking Journalists                the Federal Bureau off nvestigations (FBI).

                                                              The intelligence gathering efforts were done under the umbrella
                           House Committee Calls              of " Operation Secme Line," the operation designated to
                           Secret Database                    monitor the migrant caravan, according to the source.
                           'Troubling'
                                                              The documents list people who officials th ink should be
                                                              targeted for screening at the border.
                           Government's
                           Surveillance of                    The individuals listed include ten journalists, seven of whom
                           Journalists Reminds                are U.S. citizens, a U.S. attorney, and48 people from the U.S.
                           Media Expert of 60s                and other countries, labeled as organizers, instigators or their
                                                              roles " unknown." The target list includes advocates from
                           Activists Recall CBP               organizations 1.ik.e Border Angels and Pueblo Sin Fronterns.
                           Interrogations, Skeptical
                           of Reasons for                     To view the documents, click here or the link below.
                           Database




                        San Diego Sector
                    Foreign Operations Branch
                                     Migrant Caravan FY-2019
                      Suspected Organizers, Coordinators. Instigators, and Medfa


                                                                                                                            01/09/2019

  PHOTOS: Leaked Documents Show Government Tracking Journalists, ImmigrationAdvocates

  NBC 7 Investigates is blurring the names and photos of individuals who haven't given us permission to publish
  their information.

  The documents are titled "San Diego Sector Foreign Operations Branch: MigrantCaravanFY-2019, Suspected
  Organ izers, Coordinators, Instigators and Media" and a.re dated January 9, 2019.

www.printthis.clickabilily.com/pUcpt?expire=&action=cpt&partnerlD=S23787&fb=Y&tille=Source%3A+Leaked+Documents+Show+the+U.S.+Governme...   2/8


                                                                                                                      ACLU_Guan_00000516
    Case
10/1/2019   1:19-cv-06570-PKC-MMH                Document
               Source: Leaked Documents Show the U.S. Government81-3
                                                                Tracking Filed    08/25/22
                                                                         Journalists              Page
                                                                                     and Immigration      4 ofThrough
                                                                                                     Advocates  9 PageID
                                                                                                                      a Secret #: 1140- N . ..
                                                                                                                               Database

  Emblazoned on it are the American and Mexican flags, witb a banner that reads: "ILU-OASSIS-OMEGA." An
  official at the Department of Homeland Security said the seal indicates that the documents are a product of the
  lnternational Liaison Unit (ILU), which coordinates inteUigence between Mexico and the United States.

                                                                                                             ,,..,.
                                                                                                           -




     I                                   II     II   I
  This seal is emblazoned in the leaked documents to NBC 7 Investigates.

  For each person, the documents show their photo, often from their passport but in some cases from their socjaJ
  merua accounts, along w ith their personal information. That information includes the person's date of birth, their
  "country of commencement," and their alleged role tied to the migrant caravan. The information also includes
  whether officials placed an alert on the person's passport.

  Some individuals have a colored "X" over their photo, indicating whether they were arrested, interviewed, or
  had their visa or SENTRI pass revoked by officials.

  In adrution to flagging the inruviduals for secondary screenings, the Homeland Security source told NBC 7 that
  tbe agents also created dossiers on each person listed.

  "We are a crimi11al investigation agency, we 're not an intelligence agency," the Homeland Security source told
  NBC 7 Investigates. 'We can't create dossiers on people and they're creating dossiers. This is an abuse of the
  Border Search Authority."

  One dossier, shared with NBC 7, was on Nicole Ramos, the Refugee Director and attorney for Al Otro Lado, a
  law center for mjgrants and refugees in Tijuana, Mexico. The dossier included personal details on Ramos,
  including specific details about the car sbe drives, her mother's name, and her work and travel history.

  After sharing the documents with Ramos, she said Al Otro Lado is seeking more information on why she and
  other attorneys at the law center have been targeted by border officials.

  "The document appears to prove what we have assrnned for some time, which i.s that we are on a law
  enforcement list designed to retaliate against human rights defenders who work with asylum seekers and who
  are critical of CBP practices that via.late the rights of asylum seekers," Ramos told NBC 7 by email.

  In adrution to the dossier on Ramos, a list of other dossier files created was shared with NBC 7. Two of the
  dossier files were labeled with the names of journalists but no farther details were available. Those journalists
  were also listed as targets fo r secondary screenings.

www.printthis.clickabilily.com/pUcpt?expire=&action=cpt&partnerlD=S23787&fb=Y&tille=Source%3A+Leaked+Documents+Show+the+U.S.+Governme...   3/8


                                                                                                                      ACLU_Guan_00000517
    Case
10/1/2019   1:19-cv-06570-PKC-MMH
               Source: Leaked Documents Show the Document
                                                 U.S. Government81-3
                                                                 Tracking Filed    08/25/22
                                                                          Journalists              Page
                                                                                      and Immigration      5 ofThrough
                                                                                                      Advocates  9 PageID
                                                                                                                       a Secret #: 1141- N..
                                                                                                                                Database

  Customs and Border Protection has the authority to pull anyone into secondary screenings, but the documents
  show the agency is increasingly targeting journalists, attorneys, and immigration advocates. Former
  counterterrorism officials say the agency should not be targeting individuals based on their profession.

  NBC 7 Investigates sent the information to all border and law enforcement agencies the source listed, asking
  whether the information was valid and if these tactics were legal.

  A Customs and Border Protection spokesperson did not answer NBC 7's list of questions or confirm the validity
  of the documents shared.

  By email, the spokesperson said, "Criminal events, such as the breach of the border wall in San Diego, involving
  assaults on law enforcement and a risk to public safety, are routinely monitored and investigated by authorities."

  To read CBP's full statement, click here.

  "It is protocol following these incidents to collect evidence that might be needed for future legal actions and to
  determine if the event was orchestrated," the statement read. "CBP and our law enforcement partners evaluate
  these incidents, follow all leads garnered from information collected, conduct interviews and investigations, in
  preparation for, and often to prevent future incidents that could cause further harm to the public, our agents, and
  our economy."

  UPDATE - 4:20 p.m.
  Minutes after our story published and five days after a Customs and Border Protection spokesperson gave us the
  agency's statement above, CBP told our colleagues at NBC News that the names in the database are all people
  who were present during violence that broke out at the border in November. The agency also said journalists are
  being tracked so that the agency can learn more about what started that violence. CBP never clarified that point
  directly to NBC 7 Investigates.

  UPDATE - 8:20 p.m.

  Staff attorney Esha Bhandari with the ACLU's Speech, Privacy, and Technology Project, called the
  government's targeting of journalists and migrants "outrageous."

  "This is an outrageous violation of the First Amendment. The government cannot use the pretext of the border to
  target activists critical of its policies, lawyers providing legal representation, or journalists simply doing their
  jobs. We are exploring all options in response," Bhandari said.

  Senior staff attorney Mitra Ebadolahi with the ACLU of San Diego's Border Litigation Project called NBC 7's
  report the latest example of abuse of power by the CBP.

  "For years, the U.S . government has used the pretext of ' border security' to trample on Americans ' constitutional
  rights. This most recent example is just the latest in a steady stream of CBP abuse of authority, and once again
  underscores the dire need for meaningful agency oversight and accountability," Ebadolahi said.

  Journalists Targeted for Border Insnections

  NBC 7 Investigates spoke with seven of the journalists listed on the database as targets for secondary screenings,
  including freelance P-hotojournalist Ariana Drehsler.

  "I'm interested in covering social and political issues," Drehsler said, adding that she covered the migrant
  caravan in Tijuana for Buzzfeed News and United Press International.

  "I think there's a lot of misconceptions, maybe from both sides, about who are these people that are trying to
  seek asylum," Drehsler said. "So I think as a photojournalist, it is my responsibility to cover that to the best of
  my abilities."

www.printthis.clickability.com/pt/cpt?expire=&action=cpt&partner1D=523787&fb=Y&title=Source%3A+Leaked+Documents+Show+the+U.S.+Governme..   4/8


                                                                                                                      ACLU_Guan_00000518
    Case
10/1/2019   1:19-cv-06570-PKC-MMH                Document
               Source: Leaked Documents Show the U.S. Government81-3
                                                                Tracking Filed    08/25/22
                                                                         Journalists              Page
                                                                                     and lmmfgration      6 ofThrough
                                                                                                     Advocates  9 PageID
                                                                                                                      a Secret #: 1142- N . ..
                                                                                                                               Database

  Drehsler estimated she bad crossed the border from San Ysidro dozens of times covering the caravan.




  Las Playas de Tijuana on December 9, 2018. At night the beach is Lit up with lights from the
  U.S. side to help US Customs and Border Patrol find people trying to cross illegally. Photo by
  Ariana Drehsler/UPI
  Photo credit: UPJ


  " l was very transparent about what l was doing/' Drehsler said. "Sometimes you wbuld see me carryi1-1g a
  camera and ifl was asked by an a.gent what was I doing, I would tell them I was photographing the [migrant]
  shelters."

  But on December 30, 2018, when Drehsler was crossing back into the United States, she was pulled into
  secondary inspection and questioned by border agents.

  " Two people in plainclothes came down and took me to another room," Drehsler said. "They questioned me iu a
  small room, asking me questions about the shelter, what was I seeing there, who was I working for."

  "They said that 1 was on the ground and they' re not, wh.ich [ thought was really interesting."

  After about an hour, Drehsler said she was allowed to leave but agents warned her that an alert had been placed
  on her passport and that she would be pulled into a secondary screening again if she crossed the border. The
  agents told her to plan accordingly, given the screenings could last an hour or more. When she asked why this
  a lert was placed on her passport, agents told her they had no idea.

  Drehsler said she was pulled into secondary screenings two more times while crossing the border. Each time she
  said she was questioned by the same agents in pla111clothes. The second time was on Jan. 2, 2019, and the third
  time was on Jan. 4, 2019.

  On the third occasion, Drehsler srud she was told to leave her gear, including her camera and cell phone, on a
  table outside of the interview room. When she returned, she said it didn' t appear to her that the gear had been
  looked through. Agents asked Drehsler if she could show them the photos she bad taken but she said she
  declined.

  Some oftbe questions agents asked Drehsler on the third screening struck her as odd.

www.printthis.clickabilily.com/pUcpt?expire=&action=cpt&partnerlD=S23787&fb=Y&tille=Source%3A+Leaked+Documents+Show+the+U.S.+Governme...   5/8


                                                                                                                      ACLU_Guan_00000519
   Case 1:19-cv-06570-PKC-MMH
10/1/2019                                     Document
            Source: Leaked Documents Show the U.S. Government81-3
                                                             Tracking Filed    08/25/22
                                                                      Journalists              Page
                                                                                  and Immigration      7 ofThrough
                                                                                                  Advocates  9 PageID
                                                                                                                   a Secret #: 1143- N . ..
                                                                                                                            Database

  "They asked about the new caravan and if word had gotten out about how difficult it is to seek asylum in the
  U.S.," Drehsler said. "Then before r left, the female agent asked if I rented or owned my home."

  Drehsler told NBC 7 the personal details listed for her in the leaked screenshots are accurate. She confirmed the
  photo officials used came from her passport. The screeoshots include a green "X" over Drebsler's photograph,
  indicating she had been interviewed by agents.

  Sharing the documents with Drehsler, she told NBC 7 she was "blown away."

  " I have so many questions; I have more questions than answers," she said. " Personally, I don't understand what
  [agents] are hoping to find. "

  Other jomnalists and attorneys have previously told news outlets like NPR and The lntercep1 that they too faced
  the same kind of increased scmtiny surrounding their work involving the migrant caravan.

  Evidence of increased scrutiny of journalists at the border was detailed in an October 20 18 report prepared by
  the Committee to Protect Journalists (CPJ.)

  The report identified 37 journalists who said they found the secondary screenings by border officials "invasive,"
  and said 20 cases involved border agents "conducting warrantless searches of [the journalists' ] electronic
  devices."

  T11e journalists featured in the leaked documents said they were separated from their electronic devices and gear
  but bad no evidence that agents had gone through their items.

  Kitra Ca hana is another :freelance photojournalist and U.S. citizen listed as a target in the documents. By phone
  from Honduras, Cabana told NBC 7 she also faced increased scmtiny and was eventuaUy denied entry into
  Mexjco for no apparent reason.




  J(jtra Cahana is an award-winning :freelance documentary photographer, videographer, a
  photo/video artist.
  Photo credit: Kitra Cahana




www.printthis.clickabilily.com/pUcpt?expire=&action=cpt&partnerlD=S23787&fb=Y&title=Source%3A+Leaked+Documents+Show+the+U.S.+Governme...   618


                                                                                                                     ACLU_Guan_00000520
    Case
10/1/2019     1:19-cv-06570-PKC-MMH
                 Source: Leaked Documents Show the Document
                                                   U.S. Government81-3
                                                                   Tracking Filed    08/25/22
                                                                            Journalists              Page
                                                                                        and Immigration      8 ofThrough
                                                                                                        Advocates  9 PageID
                                                                                                                         a Secret #: 1144- N ..
                                                                                                                                  Database

  Cahana's work has been featured in National Geographic magazine, The New York Times and the CBC out of
  Canada. One night in late December, she said Mexican authorities photographed her passport while she and
  other journalists were working near the border.

  Then, on Jan. 17, 2019, while traveling from Canada to Mexico City, Cahana said she had a connecting flight in
  Detroit, Michigan. Cahana said in Montreal, her passport was flagged while going through U.S. Customs pre-
  clearance. Cahana said she was pulled into a secondary screening where border agents asked her a list of
  questions about her work.

  "They were interested in whether I had an assignment when I was going down to cover the caravan," Cahana
  said. "And they wanted to know how I was funding my work."

  Cahana said she was asked to explain how freelance photojournalism works, which she found strange.
  Afterward, her passport was flagged again in Detroit but eventually, she was allowed to board her flight and fly
  to Mexico City.

  But when she arrived in Mexico, her passport was flagged again. Cahana said she brought this to a Mexican
  official and was taken into a back room with another group of detained individuals.

  There, Cahana said her phone was taken away and she couldn't leave the room. When she needed to use the
  restroom, an agent escorted her.

  "I wasn't allowed to be in communication with anyone, I wasn't allowed to contact my embassy," Cahana said.
  "It was very confusing because my Spanish is quite limited and no one there really spoke English."

  Cahana said the whole ordeal lasted 13 hours and in the end, she was denied entry into Mexico. She had to wait
  until a plane arrived that could take her back to Detroit, where her flight originated.

  Since then, Cahana said she tried one more time to cross the border into Mexico.

  "I was trying to cross into Mexico through Guatemala to continue my work covering the caravan and then I was
  denied again," Cahana said.

  NBC 7 Investigates confirmed another journalist was denied entry into Mexico after covering the caravan in
  January. That journalist is also listed in the SharePoint files leaked to NBC 7.

  In the documents shared with NBC 7, Cahana confirmed her personal details were accurate and that the photo
  used is from her passport. Cahana said she's been in contact with the Committee to Protect Journalists and the
  ACLU as far as the alert placed on her passport, preventing her access to Mexico.

  Cahana said the increased scrutiny by border officials could have a chilling effect on freelance journalists
  covering the border.

  "In the current state of journalism, it's really freelancers who are bringing so much news to the public," Cahana
  said. "And the uncertainty of having an alert placed on your passport and not knowing where and when that's
  going to prevent you from doing your work is really problematic."

  Correction: A previous version of this story stated three photojournalists were denied entry into Mexico. After
  speaking with those involved, it was clarified that only two photojournalists were denied entry into Mexico. The
  article above has been updated to reflect this.

  Want to know ifyou're on the target list? Have you faced increased scrutiny while covering a story at the
  border? NBC 7 Investigates wants to hear from you. Contact us at cbptargetlist@nbcuni.com.



www. pri ntth is .clickabil ity. com/pt/cpt?expire=&action=cpt&pa rtnerl D =523 787 &fb= Y &title= Sou rceo/o 3A +Leaked+Docu ments+Show+the+ U.S.+ Govern me. .   7 /8


                                                                                                                                          ACLU_Guan_00000521
   Case 1:19-cv-06570-PKC-MMH
10/1/2019  Source: Leaked Documents Show the Document
                                             U.S. Government81-3
                                                             Tracking Filed    08/25/22
                                                                      Journalists              Page
                                                                                  and Immigration      9 ofThrough
                                                                                                  Advocates  9 PageID
                                                                                                                   a Secret #: 1145- N..
                                                                                                                            Database



  Find this article at:
  https://www.nbcsandiego.com/news/local/Source-Leaked-Documents-Show-the-U S-Government-Tracking-Journalists-and-Advocates-Through-a-
  Secret-Database-506783231. html


  D    Check the box to include the list of links referenced in the article .




  © NBC Universal, Inc. I All Rights Reserved.




www.printthis.clickability.com/pt/cpt?expire=&action=cpt&partner1D=523787&fb=Y&title=Source%3A+Leaked+Documents+Show+the+U.S.+Governme..   8/8


                                                                                                                      ACLU_Guan_00000522
